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        LAWRENCE KENNEDY NELSON
      5
      6                                 UNITED STATES DISTRICT COURT

      7                               EASTERN DISTRICT OF CALIFORNIA

      8
      9 UNITED STATES OF AMERICA,                       )   Case No: 2:12-CR-00169 MCE
                                                        )
     10      Plaintiff,                                 )
                                                        )   STIPULATION AND
     11          v.                                     )   ORDER TO CONTINUE STATUS
                                                        )   CONFERENCE AND TO EXCLUDE
     12
          LAWRENCE KENNEDY NELSON,                      )   TIME PURSUANT TO THE SPEEDY
     13                                                 )   TRIAL ACT
             Defendant.                                 )
     14
     15
                 IT IS HEREBY STIPULATED by and between the undersigned parties, Jason Hitt,
     16
          Assistant United States Attorney and V.Roy Lefcourt, attorney for defendant LAWRENCE
     17
          KENNEDY NELSON, that the previously scheduled status conference date of May 1, 2014 be
     18
          vacated and the matter set for status conference on June 19, 2014 at 9:00 a.m.
     19
                 It is the intent of counsel to resolve this matter by plea, and both parties are confident that
     20
          a reasonable continuance will result in a final completion of a plea agreement. Therefore, it is
     21
          respectfully requested that a continuance be granted to allow counsel additional time to complete
     22
          a plea agreement.
     23
                 Further, the parties agree and stipulate the ends of justice will be served by the granting of
     24
          such a continuance which outweigh the best interests of the public and the defendant’s right to a
     25
          speedy trial and that time within which the trial of this case must be commenced under the Speedy
26
          Trial Act should therefore be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv), corresponding to

                                                                                                                   1
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          Local Code T-4, from the date of the parties’ stipulation, May 1, 2014, to and including June 19,
      1
          2014.
      2
                  Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
      3
                  IT IS SO STIPULATED.
      4
          DATED: April 29, 2014                         Respectfully submitted,
      5
                                                        _/s/ V.ROY LEFCOURT_____________
      6                                                 V.ROY LEFCOURT
                                                        Attorney for Defendant
      7                                                 LAWRENCE KENNEDY NELSON

      8 DATED: April 29, 2014
      9                                                 _/s/ JASON HITT__________________
                                                        JASON HITT
     10                                                 Assistant United States Attorney
                                                        By Watina Fee
     11
                                                        ORDER
     12
     13           The Court, having received, read, and considered the stipulation of the parties, and good
     14 cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
     15 on the stipulation of the parties and the recitation of facts contained therein, the Court finds that a
        continuance is necessary for the effective preparation of counsel and for the completion of a plea
     16
        agreement. The Court finds that the ends of justice to be served by granting the requested
     17
        continuance outweigh the best interests of the public and the defendant in a speedy trial.
     18
                The Court orders that the time from the date of the parties’ stipulation May 1, 2014 to and
     19 including June 19, 2014, shall be excluded from computation of time within which the trial of this
     20 case must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),
     21 and Local T-4. It is further ordered that the May 1, 2014 status conference shall be continued
     22 until June 19, 2014 at 9:00 a.m.
                  IT IS SO ORDERED.
     23
          Dated: May 2, 2014
     24
     25
26


                                                                                                               2
